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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 20-CIV-80266-RAR

 HOWARD COHAN,

        Plaintiff,

 vs.

 DK DELRAY DOWNTOWN, LLC,
 d/b/a COURTYARD BY MARRIOTT
 DELRAY BEACH,

       Defendant.
 _______________________________________/
                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Plaintiff, HOWARD COHAN (“Plaintiff”), by and through undersigned counsel, hereby

 files this Notice of Voluntary Dismissal of this Action with Prejudice pursuant to Rule

 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and gives notice of the following:

        1.      Defendant, DK DELRAY DOWNTOWN, LLC, d/b/a COURTYARD BY

 MARRIOTT DELRAY BEACH (“Defendant”), has not filed an Answer or a Motion for Summary

 Judgment and therefore the dismissal of this action at Plaintiff’s request is proper pursuant to Fed.

 R. Civ. P. 41(a)(1)(A)(i).

        2.      This case shall be dismissed with Prejudice with each party bearing his/their own

 attorneys’ fees and costs.

                                               BY:     /s/ Jason S. Weiss
                                                       Jason S. Weiss
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                                                       Florida Bar No. 356890
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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 24th day of March, 2020, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which automatically gives

 notice to all counsel of record.


                                            BY: /s/ Jason S. Weiss
                                                    Jason S. Weiss
                                                    Jason@jswlawyer.com
                                                    Florida Bar No. 356890
